                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                      NORTHEASTERN DIVISION AT GREENEVILLE

  GEORGE WILLIAMS,                              )
                                                )   Civil Action No. 2:20-cv-00014-JRG-CRW
        Plaintiff,                              )
                                                )   Judge Greer
  v.                                            )
                                                )   Magistrate Judge Wyrick
  BMW OF NORTH AMERICA, LLC,                    )
                                                )   JURY DEMAND
        Defendant.                              )

              MEMORANDUM OF LAW IN SUPPORT OF MOTION OF
          DEFENDANT BMW OF NORTH AMERICA, LLC, TO DISMISS FOR
       FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED

         Plaintiff George Williams asserts five causes of action against Defendant BMW of North

  America, LLC (“BMW NA”) that arise out of his August 3, 2016, purchase of a 2014 BMW

  750Li, which BMW NA imported and distributed to an independent BMW dealer. All of Mr.

  Williams’ claims other than his breach of express warranty claims are legally barred. Mr.

  Williams cannot recover from BMW NA for breach of implied warranty under the Magnuson-

  Moss Warranty Act, 15 U.S.C. § 2301, et seq. (the “Magnuson-Moss Act”), because he is not in

  privity of contract with BMW NA. He cannot recover under the Tennessee Consumer Protection

  Act (the “TCPA”) because he does not plead any misrepresentation that occurred before he

  purchased the 750Li. And he cannot recover for fraudulent concealment because the economic

  loss doctrine bars all tort claims against BMW NA in cases like this one where there is no

  personal injury or property damage. Mr. Williams’ Complaint is also impermissibly long and

  complex, violating the edict of Rule 8(a) of the Federal Rules of Civil Procedure that a

  Complaint be “short and plain.”     The Court should dismiss Counts II, IV, and V of Mr.

  Williams’ Complaint and order that he replead his Complaint so that it complies with Rule 8(a).




Case 2:20-cv-00014-JRG-CRW Document 13 Filed 03/19/20 Page 1 of 11 PageID #: 53
                                  FACTUAL BACKGROUND

         Although Mr. Williams alleges numerous facts in his Complaint, only a few are relevant

  to the resolution of BMW NA’s Motion. According to the allegations in the Complaint, Mr.

  Williams purchased the 750Li on August 3, 2016, from an unspecified “authorized dealer in the

  State of Tennessee.” (Compl, ECF No. 1, ⁋ 14.) Mr. Williams alleges nothing about the sale

  itself and does not allege that BMW NA had any involvement with the sale other than issuing a

  New Vehicle Limited Warranty that accompanied the 750Li at the time of sale.1 (Id. at ⁋⁋ 23-24.)

  He also does not allege that BMW NA made any representations to him before he purchased the

  750Li other than the representations in the New Vehicle Limited Warranty.

         The New Vehicle Limited Warranty provided with the 750Li provided for the repairs of

  defects in materials or workmanship discovered during the 4 year/50,000 mile warranty period;

  in it, BMW NA agreed that if an original or subsequent owner of the 750Li “discover[ed] a

  defect in material or workmanship” during the warranty period and presented the 750Li to an

  independent authorized BMW dealer, the dealer would “either repair or replace the defective

  part(s) with new or authorized remanufactured parts.” (Id. at ⁋ 26 (quoting New Vehicle Limited

  Warranty).)

         Other than the discussion of the New Vehicle Limited Warranty, Mr. Williams devotes

  the rest of the factual allegations of his Complaint – 40 paragraphs occupying 10 pages – to a

  discussion of alleged concerns with the oil consumption of the 750Li’s engine. While lengthy,

  much of this discussion appears unconnected to the 750Li or to Mr. Williams’ claims.




  1. Mr. Williams did not purchase the 750Li new; although he does not say so in his Complaint,
  BMW NA therefore presumes that it is Mr. Williams’ position that the New Vehicle Limited
  Warranty was still in effect when he purchased the 750Li.


                                     2
Case 2:20-cv-00014-JRG-CRW Document 13 Filed 03/19/20 Page 2 of 11 PageID #: 54
                                             ARGUMENT

  I.     MR. WILLIAMS MUST PLEAD FACTS
         DEMONSTRATING A PLAUSIBLE ENTITLEMENT TO RELIEF.

         A Complaint does not comply with Rule 8 of the Federal Rules of Civil Procedure unless

  it contains “a short and plain statement of the claim showing that the pleader is entitled to relief.”

  Fed. R. Civ. P. 8(a)(2). “Each allegation must be simple, concise, and direct.” Fed. R. Civ. P.

  8(d)(1). “Thus, the only permissible pleading in a federal district court is a short and plain

  statement of the claim showing that the pleader is entitled to relief on any legally sustainable

  grounds.” Harrell v. Directors of Bureau of Narcotic and Dangerous Drugs, 70 F.R.D. 444, 446

  (E.D. Tenn. 1976) (quoting Clyde v. Broderick, 144 F.2d 348 (10th Cir. 1944); internal quotation

  marks and alterations omitted).

         “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed

  factual allegations, a plaintiff's obligation to provide the grounds of his entitlement to relief

  requires more than labels and conclusions, and a formulaic recitation of the elements of a cause

  of action will not do. Factual allegations must be enough to raise a right to relief above the

  speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007) (internal alterations,

  quotation marks and citations omitted). The right to relief rises above the speculative level when

  the complaint “contain[s] sufficient factual matter, accepted as true, to state a claim to relief that

  is plausible on its face. A claim has facial plausibility when the plaintiff pleads factual content

  that allows the court to draw the reasonable inference that the defendant is liable for the

  misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks and

  citations omitted).

         On the other hand, Rule 8(a)(2) “demands more than an unadorned, the-defendant-

  unlawfully-harmed-me accusation. A pleading that offers labels and conclusions or a formulaic



                                     3
Case 2:20-cv-00014-JRG-CRW Document 13 Filed 03/19/20 Page 3 of 11 PageID #: 55
  recitation of the elements of a cause of action will not do. Nor does a complaint suffice if it

  tenders naked assertions devoid of further factual enhancement.”        Id. (internal alterations,

  quotation marks and citations omitted). Under Twombly and Iqbal, “a plaintiff cannot overcome

  a Rule 12(b)(6) motion to dismiss simply by referring to conclusory allegations in the complaint

  that the defendant violated the law. Instead, the sufficiency of a complaint turns on its factual

  content, requiring the plaintiff to plead enough factual matter to raise a plausible inference of

  wrongdoing.” 16630 Southfield Ltd. P’ship v. Flagstar Bank, F.S.B., 727 F.3d 502, 504 (6th Cir.

  2013) (internal quotation marks and citations omitted). “Iqbal demands that [Mr. Williams]

  ha[s] alleged in [his] complaint facts sufficient to allow the district court to draw a reasonable

  inference that [BMW NA] acted unlawfully.” Estate of Barney v. PNC Bank, Nat’l Ass’n, 714

  F.3d 920, 925 (6th Cir. 2013).

  II.    MR. WILLIAMS’ BREACH OF IMPLIED WARRANTY
         CLAIM IS BARRED BECAUSE HE IS NOT IN PRIVITY WITH BMW NA.

         Mr. Williams’ Magnuson-Moss Act breach of implied warranty claim, Count II of his

  Complaint, is barred because Mr. Williams is not in privity of contract with BMW NA. “The

  [Magnuson-Moss] Act does not provide an independent cause of action for state law claims, only

  additional damages for breaches of warranty under state law.” Fedrick v. Mercedes-Benz USA,

  LLC, 366 F. Supp. 2d 1190, 1200 n.14 (N.D. Ga. 2005) (citing Walsh v. Ford Motor Co., 807

  F.2d 1000, 1016 (D.C. Cir. 1986)). Consequently, “state warranty law lies at the base of all

  warranty claims under Magnuson-Moss.” Walsh, 807 F.2d at 1016. Mr. Williams thus may not

  maintain a claim for breach of implied warranty under the Magnuson-Moss Act unless he has a

  viable claim for breach of warranty under the applicable underlying state law.

         To BMW NA’s knowledge, no Tennessee court has addressed the need for privity in a

  Magnuson-Moss breach of implied warranty action. The overwhelming majority of courts in



                                     4
Case 2:20-cv-00014-JRG-CRW Document 13 Filed 03/19/20 Page 4 of 11 PageID #: 56
  other states that have addressed the issue, however, have found that if state law requires privity

  to maintain a breach of implied warranty action, the Magnuson-Moss Act also requires privity.

  The Seventh Circuit has perhaps addressed the issue most succinctly: “whether privity is a

  prerequisite to a claim for breach of implied warranty under the Magnuson-Moss Act . . . hinges

  entirely on the applicable state law.” Voelker v. Porsche Cars N. Am., Inc., 353 F.3d 516, 525

  (7th Cir. 2003) (citing Walsh, 807 F.2d at 1014, Abraham v. Volkswagen of Am., Inc., 795 F.2d

  238, 249 (2d Cir. 1986)).

         The only court of which BMW NA is aware that has held to the contrary is the Supreme

  Court of Illinois (a state whose law ordinarily requires privity for an implied warranty claim),

  which has held that under the Magnuson-Moss Act “the nonprivity ‘consumer’ should be

  permitted to maintain an action on an implied warranty against the ‘warrantor.’” Szajna v. Gen.

  Motors Corp., 503 N.E.2d 760, 769 (Ill. 1986) (citations omitted). Both federal courts applying

  Illinois law and courts applying other state’s law have considered and rejected this reasoning,

  however. Voelker, 353 F.3d at 525 (not directly addressing Szajna but nonetheless holding that

  privity is required for a Magnuson-Moss breach of implied warranty claim under Illinois law);

  Finch v. Ford Motor Co., 327 F. Supp. 2d 942, 946 (N.D. Ill. 2004) (declining to follow Szajna

  and collecting several “district court[ cases that] have rejected the Szajna Court's interpretation

  of Magnuson–Moss”); Hyundai Motor Am., Inc. v. Goodin, 804 N.E.2d 775, 782 n.6 (Ind. Ct.

  App. 2004) (rejecting Szajna because “[t]he court reached this conclusion in the absence of

  detailed statutory analysis of the question and instead adopted the suggested result of a law

  review article without indicating what the reasoning was behind that result”).

         Here, the parties appear to agree that the “underlying state law” is Tennessee law either

  because Tennessee is the forum state or because Mr. Williams purchased the 750Li in Tennessee.




                                     5
Case 2:20-cv-00014-JRG-CRW Document 13 Filed 03/19/20 Page 5 of 11 PageID #: 57
  The parties also agree that Mr. Williams is not in privity with BMW NA. Mr. Williams alleges

  that he purchased the 750Li “from BMW[ NA]’s authorized dealer in the State of Tennessee,”

  not directly from BMW NA. (Compl., ⁋ 14.) Under Tennessee law, “a plaintiff may not

  maintain a claim for purely economic losses absent contractual privity with the party charged

  with responsibility for those losses.” Messer Griesheim Indus. v. Cryotech of Kingsport, Inc.,

  131 S.W.3d 457, 463 (Tenn. Ct. App. 2003). The Court should therefore dismiss Count II of Mr.

  Williams’ Complaint because he does not allege that he is in privity of contract with BMW NA.

  III.   MR. WILLIAMS ALLEGES NO FACTS SUPPORTING HIS TCPA CLAIMS.

         Count IV of Mr. Williams’ Complaint alleges various violations of the TCPA.             In

  Paragraph No. 119 of his Complaint, Mr. Williams identifies five provisions of the TCPA that he

  alleges BMW NA violated: Tenn. Code Ann. §§ 47-18-104(b)(5), (b)(7), (b)(19), (b)(21), and

  (b)(23). (Compl., ¶ 119.) Each of these five subsections requires some sort of affirmative

  statement. Those sections define as a deceptive act or practice the following activities:

                 (b)(5): Representing that goods or services have sponsorship, approval,
         characteristics, ingredients, uses, benefits or quantities that they do not have or
         that a person has a sponsorship approval, status, affiliation or connection that such
         person does not have;

                 (b)(7): Representing that goods or services are of a particular standard,
         quality or grade, or that goods are of a particular style or model, if they are of
         another;

                 (b)(19): Representing that a guarantee or warranty confers or involves
         rights or remedies which it does not have or involve; provided, that nothing in this
         subdivision (b)(19) shall be construed to alter the implied warranty of
         merchantability as defined in § 47-2-314;

                 (b)(21): Using statements or illustrations in any advertisement which
         create a false impression of the grade, quality, quantity, make, value, age, size,
         color, usability or origin of the goods or services offered, or which may otherwise
         misrepresent the goods or services in such a manner that later, on disclosure of the
         true facts, there is a likelihood that the buyer may be switched from the advertised
         goods or services to other goods or services; and



                                     6
Case 2:20-cv-00014-JRG-CRW Document 13 Filed 03/19/20 Page 6 of 11 PageID #: 58
                (b)(23): Representing in any advertisement a false impression that the
         offer of goods has been occasioned by a financial or natural catastrophe when
         such is not true, or misrepresenting the former price, savings, quality or
         ownership of any goods sold.

         Tenn. Code Ann. § 47-18-104. These claims all fail because Mr. Williams identifies no

  statement or representation that BMW NA made to him about the oil consumption of the N63’s

  engine before the he purchased the 750Li other than representations in express warranties issued

  to him that BMW NA “would repair the Vehicle’s engine . . . .” (Compl., ¶ 23.) None of the

  cited sections of the TCPA defines as a deceptive act or practice an untrue promise concerning

  future actions. Perhaps for this reason, Mr. Williams does not cite the representations in the

  express warranties within his TCPA count. Rather, within the TCPA count, Mr. Williams

  alleges that BMA NA concealed certain information, not that it represented or made statements

  about anything. (Id. at ⁋⁋ 121-24.) Mr. Williams cites nothing in the TCPA that would permit a

  TCPA claim over an omission. Thus, he has not pled facts supporting any of his TCPA theories.

         Several of Mr. Williams’ specific alleged violations suffer from additional, independent

  deficiencies.   For instance, Mr. Williams pleads a number of alleged TCPA violations

  concerning advertisements, but he does not allege in his Complaint anything about

  advertisements, let alone that he read and relied on some advertisement that BMW NA

  disseminated.   Likewise, Mr. Williams pleads an alleged TCPA violation concerning a

  representation about a warranty but he does not allege any facts concerning representations that

  BMA NA allegedly made about a warranty. The Court should dismiss Mr. Williams’ TCPA

  claims because he does not allege any facts that would support any of the TCPA claims he

  alleges.




                                     7
Case 2:20-cv-00014-JRG-CRW Document 13 Filed 03/19/20 Page 7 of 11 PageID #: 59
  IV.    MR. WILLIAMS’ FRAUDULENT CONCEAMENT
         CLAIM IS BARRED BY THE ECONOMIC LOSS DOCTRINE

         Count V of Mr. Williams’ Complaint alleges fraudulent concealment, apparently as a

  standalone cause of action. The Tennessee Products Liability Act of 1978 governs tort claims

  arising out of alleged defects in products. “Application of the Tennessee Products Liability Act

  is limited to ‘actions brought for or on account of personal injury, death or property damage.’”

  Lincoln Gen. Ins. Co. v. Detroit Diesel Corp., 293 S.W.3d 487, 491-92 (Tenn. 2009) (quoting

  Tenn. Code Ann. § 29-28-102(6)). The Tennessee Supreme Court “interpret[s] ‘property

  damage’ to mean damage to property other than the defective product.” Id. at 492 (citing

  Progressive Ins. Co. v. Gen. Motors Corp., 749 N.E.2d 484, 487-89 (Ind. 2001)). Under First

  Nat’l Bank v. Brooks Farms, 821 S.W.2d 925 (Tenn. 1991), “damages in products liability

  actions are limited to personal injury or property damage. The Court essentially adopted the

  proposition that, ‘a manufacturer does not owe a duty to avoid causing purely economic

  damage.’” Ritter v. Custom Chemicides, Inc., 912 S.W.2d 128, 132 (Tenn. 1995) (quoting

  Prairie Production, Inc. v. Agchem Dov.-Pennwalt, 514 N.E.2d 1299, 1304 (Ind. Ct. App.

  1987)).2   Here, Mr. Williams does not allege any personal injury or damage to any property

  other than the 750Li. Thus, he may not recover in tort, and the Court therefore must dismiss his

  fraudulent concealment claim.




  2. The Tennessee Supreme Court is presently considering whether an exception exists to the
  economic loss doctrine for fraud. Milan Supply Chain Solutions, Inc. v. Navistar, Inc., No.
  W2018-00084-SC-R11-CV, 2020 Tenn. LEXIS 6 (Tenn. Jan. 16, 2020). Because Milan
  concerns fraud, not fraudulent concealment, BMW NA does not believe that the Tennessee
  Supreme Court’s decision in Milan will affect the applicability of the economic loss doctrine to
  this case.


                                     8
Case 2:20-cv-00014-JRG-CRW Document 13 Filed 03/19/20 Page 8 of 11 PageID #: 60
  V.     THE COMPLAINT IS NEITHER SHORT NOR PLAIN.

         In addition to dismissing Counts II, IV, and V of Mr. Williams’ Complaint, the Court

  should order that he replead the Complaint so that it complies with Rule 8 of the Federal Rules of

  Civil Procedure. Rule 8 requires that a Complaint contain “a short and plain statement of the

  claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Like with all of the

  Federal Rules of Civil Procedure, the Court must construe Rule 8 “to secure the just, speedy and

  inexpensive determination” of this case. Fed. R. Civ. P. 1. Answering the current Complaint

  would not be just, speedy, or inexpensive because of the amount of irrelevant information in it.

  Much of Mr. Williams’ Complaint is copied and pasted with only stylistic changes from the

  complaint in Sarwar v. BMW of North America, LLC, et al., a case filed in the United States

  District Court for the District of New Jersey on behalf of Mr. Williams and dozens of other

  plaintiffs. (Compare Compl., ¶¶ 34-72 with Compl., ECF No. 1 in Sarwar v. BMW NA, Civil

  Action No. 2:18-cv-16750-MCA-LDW (D.N.J. Dec. 3, 2018), ¶¶ 204-241).3                  The various

  Sarwar plaintiffs live in 13 states and purchased different vehicles over an 8-year time period.

  This means that myriad different sets of facts were relevant to their various claims. Most of

  these facts are irrelevant to Mr. Williams’ breach of express warranty claims. In particular, Mr.

  Williams devotes 16 paragraphs of his complaint, Paragraph Nos. 72 through 87, to a discussion

  of tolling of the four-year breach of warranty statute of limitation, Tenn. Code Ann. § 47-2-725.

  But on the face of the Complaint, that statute of limitation is not applicable to Mr. Williams’

  claims because he filed suit less than four years after he purchased the 750Li. The court should




  3. The Sarwar court severed the claims of all plaintiffs except the first named plaintiff, and
  dismissed Mr. Williams’ claims without prejudice, leading to the filing of this lawsuit. See
  Order, ECF No. 42 in Sarwar, at 4.


                                     9
Case 2:20-cv-00014-JRG-CRW Document 13 Filed 03/19/20 Page 9 of 11 PageID #: 61
  therefore order that Mr. Williams replead his Complaint to limit his factual allegations to facts

  relevant to the counts that remain after the Court adjudicates BMW NA’s Motion to Dismiss.

                                           CONCLUSION

         All of Mr. Williams’ claims other than his breach of express warranty claims suffer from

  fatal legal deficiencies, and his Complaint contains copious allegations that are irrelevant to his

  claims that are not barred. BMW NA therefore respectfully requests that the Court grant its

  Motion, dismiss with prejudice Counts II, IV, and V of Mr. Williams’ Complaint, and order that

  he replead his Complaint so that it contains a “short and plain” statement of his claim.

         Dated the 19th day of March, 2020.

                                                       Respectfully submitted,

                                                       LEWIS, THOMASON,
                                                       KING, KRIEG & WALDROP, P.C.

                                                       By:/s/ Ryan N. Clark
                                                       Ryan N. Clark, B.P.R. No. 29105
                                                       424 Church Street, Suite 2500
                                                       Post Office Box 198615
                                                       Nashville, Tennessee 37219
                                                       (615) 259-1366 (telephone)
                                                       (615) 259-1389 (facsimile)
                                                       rclark@lewisthomason.com

                                                       Attorneys for Defendant
                                                       BMW of North America, LLC




                                     10
Case 2:20-cv-00014-JRG-CRW Document 13 Filed 03/19/20 Page 10 of 11 PageID #: 62
                                   CERTIFICATE OF SERVICE

           The undersigned certifies that a true and correct copy of the forgoing Memorandum has
  been served on counsel for the parties in interest herein by operation of the Court’s electronic
  case filing system:

         Susan S. Lafferty, Esq.
         LAFFERTY LAW FIRM, INC.
         1321 Murfreesboro Pike, Suite 521
         Nashville, Tennessee 37217
         susanl@laffertylawonline.com

         Attorneys for Plaintiff

         Dated the 19th day of March, 2020.
                                                     /s/ Ryan N. Clark
                                                     Ryan N. Clark




                                     11
Case 2:20-cv-00014-JRG-CRW Document 13 Filed 03/19/20 Page 11 of 11 PageID #: 63
